Case 24-50512-grs Doci18 Filed 05/06/24 Entered 05/06/24 16:24:48 Desc Main
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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF KENTUCKY
LEXINGTON DIVISION

IN RE:

DONALD ANTHONY FITZPATRICK CASE NO. 24-50512
ASHLEY LOUISE FITZPATRICK CHAPTER 11, Sub Y
DEBTORS

DEBTORS’ CERTIFICATE OF SERVICE

COME the Debtors, by and through counsel, and hereby certify that -hey have
served a copy of the Order Setting Status Conference and Other Deadlines in this case,
dated April 30, 2024, (Doc. 10) to all creditors and interested parties on this, the C Lh

day of Moy , 2024, through the Court’s ECF filing system or by regular mail,

postage srepdd.

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